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   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12

13   UNITED STATES OF AMERICA,                        )   CASE NO.  CR 22-70858-MAG
                                                      )
14           Plaintiff,                               )   NOTICE OF PROCEEDINGS ON OUT-OF-
                                                      )   DISTRICT CRIMINAL CHARGES PURSUANT TO
15      v.                                            )   RULES 5(c)(2) AND (3) OF THE FEDERAL
                                                      )   RULES OF CRIMINAL PROCEDURE
16   MICHAEL CONDITO,                                 )
                                                      )
17           Defendant.                               )
                                                      )
18
19           Please take notice pursuant to Rules 5(c)(2) and (3) of the Federal Rules of Criminal Procedure
20 that on June 30, 2022, the above-named defendant was arrested pursuant to an arrest warrant (copy

21 attached) issued upon an

22           X       Indictment
23           □       Information
24           □       Criminal Complaint
25           □       Other (describe)
26 pending in the Central           District of   California    , Case Number 2:22-cr-00272-SB. In that
27 case (copy of indictment attached), the defendant is charged with a violation of 21 U.S.C. §§ 841(a) and

28 (b)(1)(A)(viii) (Possession with Intent to Distribute Methamphetamine).

                                                                                                 v. 7/10/2018
            Case 5:22-mj-70858-MAG Document 1 Filed 06/30/22 Page 2 of 6




 1        The maximum penalties for a violation of 21 U.S.C. §§ 841(a) and (b)(1)(A)(viii) are as follows:

 2           •   Maximum Prison Term: Life

 3           •   Minimum Prison Term: 10 years

 4           •   Maximum Fine: $10,000,000

 5           •   Minimum Supervised Release Term: 5 years

 6           •   Special Assessment Fee: $100

 7           •   Forfeiture

 8           •   Mandatory and discretionary denial of benefits

 9           •   Potential Deportation

10
                                                              Respectfully Submitted,
11
                                                              STEPHANIE M. HINDS
12                                                            United States Attorney
13 Date: June 30, 2022                                               /s/
                                                              MARISSA HARRIS
14                                                            Assistant United States Attorney
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                                                                                              v. 7/10/2018
           Case 5:22-mj-70858-MAG Document 1 Filed 06/30/22 Page 3 of 6

                                                                          6/28/2022
                                                                            VAV
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 8                         UNITED STATES DISTRICT COURT

 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             March 2022 Grand Jury

11   UNITED STATES OF AMERICA,              CR   2:22-cr-00272-SB

12            Plaintiff,                    I N D I C T M E N T

13            v.                            [21 U.S.C. §§ 841(a)(1),
                                            (b)(1)(A)(viii): Possession with
14   MICHAEL CONDITO,                       Intent to Distribute
       aka “Michael Kevin Condito,”         Methamphetamine]
15     aka “Michael Kevin Thomas
        Condito,”
16
              Defendant.
17

18

19        The Grand Jury charges:
20                 [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)]
21        On or about September 26, 2021, in Los Angeles County, within
22   the Central District of California, defendant MICHAEL CONDITO, also
23   known as (“aka”) “Michael Kevin Condito,” aka “Michael Kevin Thomas
24   Condito,” knowingly and intentionally possessed with intent to
25   //
26   //
27   //
28
           Case 5:22-mj-70858-MAG Document 1 Filed 06/30/22 Page 4 of 6



 1   distribute at least 50 grams, that is, approximately 56.137 grams, of

 2   methamphetamine, a Schedule II controlled substance.

 3
                                               A TRUE BILL
 4

 5
                                               /S/
 6                                             Foreperson

 7

 8   TRACY L. WILKISON
     United States Attorney
 9

10

11   SCOTT M. GARRINGER
     Assistant United States Attorney
12   Chief, Criminal Division
13   DAVID T. RYAN
     Assistant United States Attorney
14   Deputy Chief, General Crimes
     Section
15
     RACHEL N. AGRESS
16   Assistant United States Attorney
     International Narcotics, Money
17   Laundering & Racketeering Section
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                Case 5:22-mj-70858-MAG Document 1 Filed 06/30/22 Page 5 of 6


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                CASE NUMBER:

                                    PLAINTIFF,                 2:22-cr-00272-SB                          1
                             v.
 MICHAEL CONDITO
 akas Michael Kevin Condito,
      Michael Kevin Thomas Condito,”
                                                              WARRANT FOR ARREST
                                    DEFENDANT

 To:     UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STATES OFFICER

 YOU ARE HEREBY COMMANDED to arrest MICHAEL CONDITO, akas
 Michael Kevin Condito, Michael Kevin Thomas Condito, and bring him/her
 forthwith to the nearest Magistrate Judge to answer an Indictment
 charging him with Possession with Intent to Distribute Methamphetamine, in violation
 of Title 21, United States Code, Section(s) 841(a)(1), (b)(1)(A)(viii).

 Kiry K. Gray
 NAME OF ISSUING OFFICER                                      June 28, 2022               Los Angeles, CA
 Clerk of Court
 TITLE OF ISSUING OFFICER                                     DATE AND LOCATION OF ISSUANCE
  VALERIE VELASCO
                                                        By:   MICHAEL WILNER
 SIGNATURE OF DEPUTY CLERK                                    NAME OF JUDICIAL OFFICER

                                                RETURN

 THIS WARRANT WAS RECEIVED AND EXECUTED WITH THE ARREST OF THE ABOVE-NAMED DEFENDANT AT (LOCATION)




 DATE RECEIVED                                                NAME OF ARRESTING OFFICER


 DATE OF ARREST                                               TITLE



 DESCRIPTIVE INFORMATION FOR DEFENDANT                        SIGNATURE OF ARRESTING OFFICER
 CONTAINED ON PAGE TWO




CR-12 (08/10)                            WARRANT FOR ARREST                                       Page 1 of 2
                  Case 5:22-mj-70858-MAG Document 1 Filed 06/30/22 Page 6 of 6


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                           CASE NUMBER:
                                                                         2:22-cr-00272-SB
                                           PLAINTIFF,                                                                       1
                                v.
 MICHAEL CONDITO
 akas Michael Kevin Condito,
      Michael Kevin Thomas Condito,”
                                                                          WARRANT FOR ARREST
                                           DEFENDANT

                               ADDITIONAL DEFENDANT INFORMATION

 RACE:            SEX:         HEIGHT:           WEIGHT:    HAIR:          EYES:     OTHER:


 YEAR OF BIRTH:                PLACE OF BIRTH:              SOCIAL SECURITY NO.:     DRIVER’S LICENSE NO.   ISSUING STATE

            1988
 ALIASES:                      SCARS, TATTOOS OR OTHER DISTINGUISHING MARKS:


 AUTO YEAR:       AUTO MAKE:   AUTO MODEL:                  AUTO COLOR:              AUTO LICENSE NO.:      ISSUING STATE


 LAST KNOWN RESIDENCE:                                      LAST KNOWN EMPLOYMENT:




 FBI NUMBER:


 ADDITIONAL INFORMATION:




 INVESTIGATIVE AGENCY NAME:                                 INVESTIGATIVE AGENCY ADDRESS:

   Drug Enforcement Administration
NOTES:




CR-12 (08/10)                                     WARRANT FOR ARREST                                             Page 2 of 2
